






NO. 07-03-0077-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JULY 15, 2003



______________________________




IN THE INTEREST OF T. C. AND BABY BOY C., CHILDREN






_________________________________



FROM THE 320TH DISTRICT COURT OF POTTER COUNTY;



NO. 64,742-D; HONORABLE DON EMERSON, JUDGE


_______________________________


Before QUINN and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION
		

	Appellant Julie Cortez appeals from a judgment rendered following a jury trial
terminating her parental rights to her two sons, T.C. and Baby Boy C. and appointing the
Texas Department of Protective and Regulatory Services (the Department) permanent
managing conservator of the children.  Presenting only one point of error, Julie contends
reversal is required because the proceedings were rendered fundamentally unfair by the
implication that she behaved improperly in failing to follow the Department's instructions,
when its explicit goal was to terminate her parental rights.  (Emphasis in original).  Based
upon the rationale expressed herein, we affirm.

	Because Julie does not challenge the sufficiency of the evidence, a detailed review
of the facts is not necessary.  The evidence did show however, that Julie had repeated
troubles with the law and with substance abuse.  Alleging that she was uncooperative in
its attempts to reunify her with her children, the Department filed its petition to terminate
Julie's parental rights to T.C. and Baby Boy C.  By affidavit attached to the petition, the
Department averred that removal of the children was necessary after Baby Boy C., who
was born on May 15, 2000, tested positive for amphetamines at the time of delivery.  T.C.,
who was born on February 11, 1998,  also tested positive for controlled substances at the
time of his birth.  According to the Department, at the time its petition was filed, Julie and
the children's father and the biological father of Baby Boy C. were all incarcerated and
there were no appropriate or willing relatives to take the children. (1)

	The natural right existing between parents and their children is one of constitutional
dimension.  Holick v. Smith, 685 S.W.2d 18, 20 (Tex. 1985).  A termination decree is
complete, final, irrevocable, and divests for all time that natural right as well as all legal
rights, privileges, duties, and powers with respect to each other except for the child's right
to inherit.  Wiley v. Spratlan, 543 S.W.2d 349, 352 (Tex. 1976).  Consequently, termination
proceedings must be strictly scrutinized.  In Interest of G.M., 596 S.W.2d 846 (Tex. 1980). 
In proceedings to terminate the parent-child relationship, the petitioner must establish one
or more acts or omissions enumerated under section 161.001(1) of the Family Code and
must additionally prove that termination of the parent-child relationship is in the best
interest of the child.  Tex. Fam. Code Ann. § 161.001(1) and (2) (Vernon 2002).  Both
elements must be established, and proof of one element does not relieve the petitioner of
the burden of proving the other.  See Holley v. Adams, 544 S.W.2d 367, 370 (Tex. 1976).

	 Pursuant to section 263.405(b) of the Family Code, Julie filed a statement of points
for appeal asserting her issues on appeal would be:

   	A.  Whether the termination of Respondent's parental rights was procedurally
flawed by trial amendments made by Petitioner which so affected the
ultimate outcome of the case, so as to violate the constitutional rights of
Respondent.

	B.  Whether the termination of Respondent's parental rights was against the
great weight of the evidence.


However, by her sole point here, she contends the underlying proceedings were rendered
fundamentally unfair by the implication that she behaved improperly in failing to follow the
Department's instructions, when its explicit goal was to terminate her parental rights.  We
disagree.

	Referencing the testimony of the Department's witnesses on cross-examination,
Julie contends the first and second service plans submitted to her by the Department for
implementation contemplated its ultimate objective was to terminate her parental rights and
remove her as a parent.  However, the record does not contain a copy of either service
plan for our review.  Further, because no complaint was made in the trial court, the point
is not preserved for our review.  See Tex. R. App. P. 33.1(a); see also Moser v. Davis, 79
S.W.3d 162, 169 (Tex.App.--Amarillo 2002, no pet.); Valdez v. Valdez, 930 S.W.2d 725,
728 (Tex.App.-Houston [1st Dist.] 1996, no writ).  

	 Appellant further argues that employees of the Department "behaved in a most
cavalier fashion toward [her]" which in effect disregarded her constitutional rights and that
this fundamental error can be raised for the first time on appeal.  However, as above noted,
even assuming any constitutional right is implicated, a question we do not decide, because
the record does not include a copy of the referenced service plans, it has not been
adequately presented for review.  Further, Julie does not contend the alleged unfairness
prejudiced or hindered her defense.  Finally, her argument fails to demonstrate how the
alleged unfairness would undermine the judicial consequences of the jury verdict, which
she does not challenge.     

	Moreover, under section 263.405(b) of the Family Code, Julie was required to file
her statement of points on which she intended to appeal.  The point presented here was
not included in the statement of points filed.  Even though the filing of a statement of points
does not affect our jurisdiction, because section 263.405(a) makes appeals of a
termination order subject to the "procedures provided by this section," the point has not
been preserved for our review. (2)  Julie's sole point of error is overruled.

	Accordingly, the judgment is affirmed.

						Don H. Reavis

						    Justice

									


1. The rights of the father of the children and the biological father of Baby Boy C. were
also terminated; however, no appeal was filed by them. 
2. We do not consider In Interest of W.J.H. Jr., J.J.H., D.D.H., and D.N.H., Children,
No. 02-02-343-CV, 2003 Tex. App. LEXIS 5204 at *7 (Tex.App.-Fort Worth June 19, 2003,
no pet. h.), controlling because no request for supplementation was presented.  The Fort
Worth Court held that a party's failure to include a particular point in the statement of points
filed under section 263.405(b) does not waive the right to raise such a point on appeal as
long as the party has complied with the procedural requirement to file a statement of points
and appellee has not been prejudiced.  Also, Rule Tex. R. App. P. 34.6(c)(1), and (4)
discussed in Bennett v. Cochran, 96 S.W.3d 227 (Tex. 2002) is not implicated here.


fficient+evidence+to+support+award+of+damages+no-answer+default+judgment&amp;db=TX-CS%2cTX-CS-ALL&amp;rlti"&gt;In a legal sufficiency review, we view the evidence in a light most favorable to the
judgment and indulge every reasonable inference to support it, crediting favorable
evidence if a reasonable factfinder could, and disregarding contrary evidence unless a
reasonable factfinder could not. City of Keller v. Wilson, 168 S.W.3d 802, 807, 822 (Tex.
2005).  Anything more than a scintilla of evidence is legally sufficient to support the finding. 
Cont'l Coffee Prods. Co. v. Cazarez, 937 S.W.2d 444, 450 (Tex. 1996).  When evidence
is so weak as to do no more than create "a mere surmise or suspicion" that a fact exists,
the evidence does not exceed a scintilla.  Ford Motor Co. v. Ridgway, 135 S.W.3d 598,
601 (Tex. 2004), quoting Kindred v. Con/Chem, Inc., 650 S.W.2d 61, 63 (Tex. 1983).    In
determining a factual sufficiency challenge, we consider all of the evidence to determine
if the evidence supporting the finding is so weak or the evidence to the contrary is so
overwhelming that the judgment should be set aside and a new trial ordered. Dawson, 107
S.W.3d at 748.  When a specific attack is made on the legal and factual sufficiency of the
evidence to support the trial court's determination of damages in a default judgment, we
must review the evidence produced.  Id. at 751.  See generally Golden Eagle Archery, Inc.
v. Jackson, 116 S.W.3d 757 (Tex. 2003), citing Pool v. Ford Motor Co., 715 S.W.2d 629,
635 (Tex. 1986) (factual sufficiency of evidence supporting damages).Causal Nexus

	When damages are unliquidated, the plaintiff must present evidence of the "causal
nexus" between the event sued upon and the plaintiff's injuries.  Morgan v. Compugraphic
Corp.,&nbsp;675 S.W.2d 729, 732 (Tex. 1984). This is because when judgment is by default, a
personal-injury defendant admits only that the defendant caused the event that led to the
suit, not that there exists a connection between the event and the damages. (3)  Id. Transport
Concepts, Inc. v. Reeves,&nbsp;748 S.W.2d 302, 305 (Tex.App.-Dallas 1998, no writ). The
personal-injury plaintiff must both offer competent proof of damages and connect the
damages sustained to the defendant's conduct. Id.; Jackson v. Gutierrez, 77 S.W.3d 898,
902 (Tex.App.-Houston [14th Dist.] 2002, no pet.).  A challenge to the legal and factual
sufficiency of the evidence to show this causal nexus is examined using the same
standards applicable to any sufficiency challenge.  Jackson, 77 S.W.3d at 902. 	

Medical Expenses

	On appeal, Flores concedes the evidence presented to the trial court was legally
insufficient to support the award of past medical expenses because it did not establish the
reasonableness and necessity of the expenses.  We agree.  

	At the default judgment hearing, Flores did not provide expert testimony to establish
the reasonableness and necessity of his past medical expenses nor did he submit an
affidavit compliant with Civil Practice and Remedies Code § 18.001 for that purpose.  Tex.
Civ. Prac. &amp; Rem. Code Ann. § 18.001 (Vernon Supp. 2007).  Even in the default judgment
context, a claim for past medical expenses must be supported by evidence that they were
reasonable and necessary as a result of the injury.  Whitaker v. Rose, 218 S.W.3d 216,
223 (Tex.App.-Houston [14th Dist.] 2007, no pet.); Transport Concepts, 748 S.W.2d at 305. 
In the absence of the required evidence of reasonableness and necessity, Flores's
evidence was legally insufficient to support the award of damages for past medical
expenses, Whitaker, 218 S.W.3d at 223, and we must reverse the award of those
damages.   

Loss of Future Earning Capacity

	Lost earning capacity concerns the impairment to one's ability to work.  Koko Motel,
Inc. v. Mayo, 91 S.W.3d 41, 51 (Tex.App.-Amarillo 2002, pet. denied).   It entails the
consideration of what the plaintiff's capacity to earn a livelihood actually was and assesses
the extent to which it was impaired.  Id.  Factors such as pain, weakness, diminished
function ability, or similar showings that indicate that plaintiff's capacity to get and hold a
job, or his capacity for duration, consistency or efficiency of work was impaired, may be
considered.  Springer v. Baggs,&nbsp;500 S.W.2d 541, 545 (Tex.Civ.App.-Texarkana 1973, writ
ref'd n.r.e.).  However, calculating the extent of impairment of earning capacity constitutes
an exercise in uncertainty.  McIver v. Gloria,&nbsp;169 S.W.2d 710, 712 (Tex. 1943). 

	Swinnea contends on appeal that the evidence presented at the hearing is
insufficient to support the trial court's award for lost earning capacity in the future. 
Underlying his argument is a contention that Flores has failed to show the casual nexus
between the collision and his losses under this category of damages. 

	Flores was 51 at the time of the accident.  He was retired from his work as a grant
writer for an agency of the State of Texas.  Flores holds a degree in psychology and a
master's degree in social work, and is a licensed social worker.  At the time of the collision,
Flores was working part-time as a chaplain at an Austin hospice.  He also had worked as
a deacon of his church.  After the collision, he worked for a time at a parish outside Austin. 

 	Swinnea contends on appeal that Flores's lost earning capacity damages depend
entirely on the evidence provided by the report of Felix Vallejo, a licensed professional
counselor. (4)  Swinnea first argues that Vallejo's report is not competent evidence because
it is unverified.  Citing Texas Commerce Bank, N.A. v. New, 3 S.W.3d 515, 516-17 (Tex.
1999) (per curiam), he notes that affidavits alone may provide sufficient evidence to
support an unliquidated damages award at a default judgment hearing, but argues that
Vallejo's unsworn report cannot.  Swinnea's premise is faulty.  Flores did not rely solely 
on Vallejo's report.  As noted, Flores testified at the hearing. (5)  He agreed with his counsel
that Vallejo "spent some time with you" evaluating his mental condition and "how this has
affected your ability to earn a living[.]"  He agreed also that, at his request, Vallejo prepared
the report "assessing your loss of earning capacity," and identified the report, which
thereupon was offered and admitted into evidence.    

	Swinnea next argues Vallejo's report provides no evidence because it is conclusory. 
We cannot agree.  The four-page report, dated August 21, 2005, refers to three interviews
during July and August of 2005.  It contains a section containing Flores's description of the
vehicle collision and his subsequent treatment, and a section reciting his statements 
concerning his physical and mental condition. (6)  In its section providing a "vocational
analysis," the report describes the symptoms Vallejo found to be of particular importance
to an analysis of Flores's earning capacity, at least some of which symptoms Flores
attributed to the trauma associated with the collision.  The report describes in some detail
Vallejo's manner of calculating the $298,586.41 lost earning capacity.  Swinnea cites
Lefton v. Griffith, 136 S.W.3d 271, 277 (Tex.App.-San Antonio 2004, no pet.), in which the
court found conclusory the plaintiff's affidavit statement that her store inventory "was worth
$300,000."  Id. at 276.  Unlike that affidavit, Vallejo's report sets forth the facts on which
its conclusions are based.  See Interconex, Inc. v. Ugarov, 224 S.W.3d 523, 532
(Tex.App.-Houston [1st Dist.] 2007, no pet.) (finding testimony consisted of statements of
affirmative facts and thus was not conclusory).       

	Vallejo's report provides competent evidence.  The weight to be given it was a
matter for the trial court's determination, subject to our review of its sufficiency, taken
together with the other record evidence.  Thomas v. Martinez, 217 S.W.3d 680, 683
(Tex.App.-Dallas 2007, pet. stricken).  See also Williams v. McSwain, 596 S.W.2d 583
(Tex.Civ.App.-Beaumont 1980, no pet.) (in a non-jury case, the trial court is the judge of
credibility of witnesses and weight to be given their testimony; the trial court may draw any
reasonable inferences from the evidence).  Swinnea's other complaints, that Vallejo's
conclusions are based on inadequate information, that Flores's symptoms are attributable
to other factors and that the lost earning capacity calculation was based on earnings from
a career from which Flores had been retired for several years, (7) are contentions the report
should be given little weight.  There is documentary evidence that Flores was medically
released to return to work within a few weeks of the collision.  Too, the record contains
medical records from which the trial court could have determined that at least some of
Flores's mental health symptoms discussed in Vallejo's report predated the collision. (8) 
Having reviewed all the evidence, however, we cannot say it is factually insufficient.
Swinnea's second issue is overruled.  


Pain and Suffering (Past and Future)	The process of awarding damages for amorphous, discretionary injuries, such as
mental anguish or pain and suffering, is inherently difficult because the alleged injury is a
subjective, unliquidated and nonpecuniary loss.  Dollison v. Hayes,&nbsp;79 S.W.3d 246, 249
(Tex.App.-Texarkana 2002, no pet.).  The presence or absence of pain, either physical or
mental, is an inherently subjective question because the process is not readily susceptible
to objective analysis.  Dawson, 107 S.W.3d at 751.   Accordingly , the trier of fact is given
broad discretion when determining such damages.  Southwest Tex. Coors, Inc. v. Morales,
948 S.W.2d 948, 951-52 (Tex.App.-San Antonio 1997, no writ).  See also Rosenboom
Mach. &amp; Tool, Inc. v. Machala, 995 S.W.2d 817, 829 (Tex.App.-Houston [1st Dist.] 1999,
pet. denied) (matters of pain and suffering are necessarily speculative, and it is within the
province of the fact finder to set the amount of such damages).

	Here, Flores put on evidence he suffered physical injuries including trauma to his
neck, back, jaw and abdomen.  His testimony and the medical records show he developed
a large contusion on his abdomen, necessitating diagnostic testing to rule out internal
injuries.  The testimony specifically concerning his pain and suffering from his injuries is
scant, consisting of the following:

	Q.	Although your physical injuries were great and continue to this day,
including your neck pain-

	A.	And jaw.

	Q.	-and jaw, the most serious injury you suffered was post-traumatic stress
disorder; is that right?

	A.	Correct.

	Flores's medical records contain references to his pain.  An emergency room record
indicates he complained of pain in his neck, elbow and knee, assessed at a level of 4 on
a scale of 10.  Pain medication was prescribed.  A medical record dated July 28, twelve
days after the accident, indicates he then complained of mild but constant pain in his
abdomen.  Flores saw a chiropractor during the period July 20, 2004 through September
29, 2004.  His report recites complaints of neck and shoulder pain, and headaches.  It
states also that Flores had "little or no pain" when last seen on September 29.  Vallejo's
report, however, based on his interviews with Flores just over a year after the accident,
also makes reference to pain in Flores's neck, right jaw and shoulder and indicates the
pain affected Flores's sleep.  We conclude the evidence is legally and factually sufficient
to support the trial court's award of $50,000 for past pain and suffering.  See Dawson, 107
S.W.3d at 751-52;  Owens-Corning Fiberglass Corp. v. Martin, 942 S.W.2d 712, 719
(Tex.App.-Dallas 1997, no writ), citing Gonzales v. Southwestern Bell Tel. Co., 555 S.W.2d
219, 223 (Tex.App.-Corpus Christi 1977, no writ) (award for damages such as pain and
suffering should not be disturbed unless they are excessive).

	Although damages awarded for pain in the future are necessarily speculative, there
must be some objective evidence that an injury will continue to adversely affect the party
claiming such damages. Goldberg v. Dicks, No. 12-02-00053-CV, 2004 WL 253250
(Tex.App.-Tyler, Feb. 11, 2004, pet. denied) (mem. op.); Strahan v. Davis, 872 S.W.2d
828, 834 (Tex.App.-Waco 1994, writ denied).  See also Saenz v. Fidelity &amp; Guar. Ins.
Underwriters, 925 S.W.2d 607, 614 (Tex. 1996) (requiring meaningful evidentiary review
of determinations of reasonable compensation).  No additional evidence was presented
to support the $200,000 damages awarded for future pain and suffering.  Having
considered all the evidence before the court, we find the evidence supporting those
damages to be so weak as to require they be set aside.  Dawson, 107 S.W.3d at 748. (9) 

	We overrule Swinnea's issue as to the trial court's award for past pain and suffering
damages but sustain it as to the award for future pain and suffering damages.

Physical Impairment

	   To recover for physical impairment, the plaintiff must show that the effect of the
physical impairment is substantial and extends beyond any pain, suffering, mental anguish,
lost wages or diminished earning capacity.  Golden Eagle Archery, 116 S.W.3d at 772. 
Physical impairment is an element of damages that extends beyond loss of earning
capacity and pain and suffering to the extent that it produces a separate loss that is
substantial or extremely disabling. Dollison, 79 S.W.3d at 253.  Loss of enjoyment of life
is a factor that may be considered in awarding damages for physical impairment.  Golden
Eagle Archery, 116 S.W.3d at 772.  A party claiming such damages bears the burden of
proving a compensable injury.  Dollison, 79 S.W.3d at 253. 

	On appeal, in support of the $25,000 the trial court awarded for physical impairment,
Flores points to his testimony concerning the collision's disruption of his work as a
chaplain, the sentence in Vallejo's report noting that pain had affected Flores's sleep and
the chiropractor's narrative describing tissue injuries from the collision.  We agree with
Swinnea that this is not evidence of a separate loss extending beyond pain and suffering
or lost earning capacity.  When we find no evidence supporting an element of damages
awarded in an uncontested default judgment, rather than render a take-nothing judgment,
we are to remand.  Holt Atherton Industries, Inc. v. Heine, 835 S.W.2d 80, 86 (Tex.
1992). (10)

Conclusion

	We affirm the trial court's judgment as to Swinnea's liability, and as to its awards
of $50,000 as damages for past pain and suffering, and $298,586.41 for loss of earning
capacity in the future.  We reverse the remaining damages awards, and remand the
cause to the trial court.   


							James T. Campbell

							        Justice				




1.  Tex. R. App. P. 26.1, 30.
2.  Generally, when a trial court does not itemize the damages awarded in a default
judgment, it is impossible to determine what portion of the damages was ascribed to each
ground of recovery claimed by the plaintiff.  See K-Mart Apparel Fashions Corp. v.
Ramsey,&nbsp;695 S.W.2d 243, 247 (Tex. App.-Houston [1st Dist.] 1985, writ ref'd n.r.e.). 
However, when, as here, the plaintiff specifically requests and apparently receives certain
amounts for particular elements of damages in a default judgment hearing pursuant to Rule
of Civil Procedure 243, we may review the sufficiency of the evidence to support the
specific awards requested and apparently received.  Dawson,&nbsp;107 S.W.3d at 749.  We will
do so for each category of damages here.
3.  The Morgan court stated, "[t]he causal nexus between the event sued upon and
the plaintiff's injuries is strictly referable to the damages portion of the plaintiff's cause of
action.  Even if the defendant's liability has been established, proof of this causal nexus
is necessary to ascertain the amount of damages to which the plaintiff is entitled.  This is
true because the plaintiff is entitled to recover damages only for those injuries caused by
the event made the basis of suit, that the defendant has defaulted does not give the
plaintiff the right to recover for damages which did not arise from his cause of action." 
Morgan, 675 S.W.2d at 732.
4.  Flores's testimony at the hearing identified Vallejo also as a licensed vocational
rehabilitation specialist.  Swinnea's brief notes that Vallejo's qualifications to provide expert
opinion testimony "have not been established," but Swinnea does not further challenge
Vallejo's report based on his lack of qualifications.
5.  No oral testimony was taken at the default judgment hearing in Texas Commerce. 
See Texas Commerce, 3 S.W.3d at 515.
6.  During his testimony, Flores agreed with his counsel that the most serious injury
he suffered from the accident was post-traumatic stress disorder.  Vallejo's report states
the PTSD diagnosis.  Another record, from mental health assessment conducted a week
after the accident, contains a similar "diagnostic impression." 
7.  The section of Swinnea's brief containing this complaint confuses lost earnings
with loss of earning capacity.  See Plainview Motels, Inc. v. Reynolds, 127 S.W.3d 21, 35
(Tex.App.-Tyler 2003, pet. denied); Border Apparel-East, Inc. v. Guadian, 868 S.W.2d
894, 897 (Tex.App.-El Paso 1993, no writ) (both distinguishing the two categories of
damages).  
8.  The records show that Flores had sought treatment for depression during several
years before the accident, and an April 2000 psychiatric evaluation in the record notes
positive findings for "decreased concentration/indecisiveness" and "distractability."   
9.  Flores plead for mental anguish damages. At the hearing no separate request was
made for damages for mental anguish, and the trial court awarded no such damages. 
Flores's brief on appeal refers to mental anguish, however.  We express no opinion
whether the evidence would have supported an award for mental anguish damages.  But
because evidence of non-economic damages may overlap categories, Golden Eagle
Archery, 116 S.W.3d at 770, we specifically have considered Flores's testimony about his
anxiety and "flashbacks" regarding heavy traffic and 18-wheelers in our evaluation of the
evidence supporting the trial court's award of $200,000 future pain and suffering damages. 
10.  An appellate court may assume the trial court disregarded a category of damages
as to which there was no evidence when there is no indication the court made any award
for that category, Ramsey,&nbsp;695 S.W.2d at 247.  As noted, however, it is apparent the trial
court here awarded the damages Flores listed for the court, including $25,000 for physical
impairment.  Dawson, 107 S.W.3d at 749. 

